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                                                       UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF COLUMBIA

                           JANE DOE 1, JANE DOE 2, JANE DOE 3,
                           JANE DOE 4, and JANE DOE 5

                             Plaintiffs                                        Case No. 1:18-cv-01391 (RBW)

                                 v.

                           GEORGE WASHINGTON UNIVERSITY
                           and KYLE RENNER

                                  Defendants.


                                            FIRST AMENDED COMPLAINT AND JURY DEMAND

                                Plaintiffs Jane Doe 1, Jane Doe 2, Jane Doe 3, Jane Doe 4, and Jane Doe 5 allege for

                         their First Amended Complaint herein:

                                                         PRELIMINARY STATEMENT

                                1.        Imagine a workplace in America where a man could sexually assault three

                         female coworkers, sexually harass and stalk eight other employees, and not only admit to this

                         misconduct, but announce a public sexual rating system of the female employees he assaulted.

                         Too far-fetched? Well, that has been the workplace environment at the Institute for International

                         Economic Policy (“IIEP”) at George Washington University (“GW”) over the past year.

                         Remarkably, GW knows all of this, as at least three student-employees have been raped, and

                         eight others sexually harassed, stalked and tormented by Emerson Jones, a sexual predator.

                                2.        The IIEP workplace became a nightmare, prison-like environment for the female

                         employees working with Jones. The women raped by Jones were forced to continue to work
    Klaproth Law
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      Suite 350          with him while he bragged to the other women about his non-consensual sexual encounters at
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                         the IIEP workplace. He went so far as to publicly declare a sexual rating system for the women

                         attacked and tormented by this psychopath.

                                3.      The women have complained, but GW has taken no action to protect them.

                         Instead, GW is providing safe harbor and refuge for Jones, hiding behind the argument that GW

                         was/is protecting the due process rights of Jones, and engaging in outright victim blaming of its

                         own student employees.

                                4.      GW has actual knowledge of Jones’ crimes and sexual misconduct, yet it has

                         taken no action to protect the female staff members. Even worse than GW’s attempt to conceal

                         the misconduct occurring on its campus workplace, GW retaliated against the Plaintiffs for

                         complaining of the sexually hostile workplace and attempted to silence them. In response to the

                         hostile work environment, GW told the Plaintiffs not to come to work. Meanwhile, GW has yet

                         to terminate Jones. He continues to prey on the young female students at GW, while the

                         University has turned a blind eye to the hostile, dangerous work environment at IIEP.

                                5.      The extreme distress, humiliation, embarrassment and feeling of powerlessness

                         the Plaintiffs have experienced in the face of such an injustice is not something that heals well

                         with time. This is especially true because the women victimized by Emerson were also students

                         of GW, a place where they should feel protected and safe. In reality, however, GW has placed

                         the purported “rights” of the sexual predator over the safety, security, and rights of his victims.

                                6.      A university should be a place that fosters intellectual development, personal

                         growth, builds confidence, and provides a student with the skills to confront the challenges of

                         the world. GW has been no such place for Plaintiffs. Instead, Plaintiffs, all of whom are on
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                         subjected to a dangerous and sexually hostile workplace at GW. The parents of these eleven

                         victims entrusted the care and education of their daughters to GW. GW betrayed that trust.

                                7.       GW, undoubtedly a premier national university, applauds itself on its website:

                         “GW responds to the growing needs of our own community and society at large through our

                         commitment to finding solutions to national and global problems.” The problem GW needs to

                         solve here is not global, it is in its own backyard; it involves its employees, sexual violence,

                         stalking, and a hostile work environment, and violations of federal law. It is legally and morally

                         indefensible.

                                                          JURISDICTION AND VENUE

                                8.       This Court has jurisdiction over this case pursuant to 28 U.S.C. §1331 and 28

                         U.S.C. 1367.

                                9.       This Court has personal jurisdiction over the Defendants pursuant to D.C. Code §

                         13-423(a)(1)-(4).

                                10.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) as the acts

                         and/or omissions alleged in this Amended Complaint occurred in the District of Columbia.

                         Moreover, the Defendants are found in, reside, or transact business in the District of Columbia.

                         Venue is also proper as Plaintiffs’ claims involve one or more common questions of fact that

                         arise from Defendants’ conduct occurring in the Washington, D.C. metropolitan area.

                                                     PARTIES AND RELEVANT PERSONS

                                11.      Plaintiff Jane Doe 1 is an individual residing in the District of Columbia. Jane

                         Doe 1 is an employee as defined by D.C. Code § 2–1401.02(9).
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      Suite 350                 12.      Plaintiff Jane Doe 2 is an individual residing in the District of Columbia. Ms.
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   klaprothlaw.com       Jane Doe 2 is an employee as defined by D.C. Code § 2–1401.02(9).




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                                13.     Plaintiff Jane Doe 3 is an individual residing in the District of Columbia. Jane

                         Doe 3 is an employee as defined by D.C. Code § 2–1401.02(9).

                                14.     Plaintiff Jane Doe 4 is an individual residing in the District of Columbia. Jane

                         Doe 4 is an employee as defined by D.C. Code § 2–1401.02(9).

                                15.     Plaintiff Jane Doe 5 is an individual residing in the District of Columbia. Ms.

                         Jane Doe 5 is an employee as defined by D.C. Code § 2–1401.02(9).

                                16.     Defendant George Washington University is an educational institution with its

                         principal place of business located in the District of Columbia. Defendant GW conducts

                         substantial business activities in the District of Columbia. Defendant GW is an employer

                         defined by D.C. Code § 2–1401.02(10). GW is an educational institution that receives Federal

                         financial assistance within the scope of 20 U.S.C. § 1681(a) (“Title IX”). At all times relevant,

                         Defendant GW acted by and through its agents, servants, and/or employees within the course

                         and scope of their employment with GW and in furtherance of GW’s business.

                                17.     IIEP is an institute located within the Elliott School of International Affair, which

                         is part of the George Washington University.

                                18.     Defendant Kyle Renner is an individual employed by GW in the District of

                         Columbia. At all times relevant herein, Defendant Renner was the General Operations Manager

                         and the supervisor for Plaintiffs. At all times relevant herein, Defendant Renner was acting

                         within the scope of his employment in a supervisory position with GW.

                                19.     Emerson Jones is an individual employed by GW in the District of Columbia. At

                         all times relevant, Jones was in a supervisory role at the IIEP. Jones is approximately 24 years
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      Suite 350          old—much older than the younger female Plaintiffs he preyed upon.
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   klaprothlaw.com              20.     Defendants in this matter are jointly and severally liable to Plaintiffs for the




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                         harms and losses sustained by Plaintiffs.

                                                      FACTS COMMON TO ALL COUNTS

                                 21.     At all times relevant, each Plaintiff worked for GW within the IIEP as part of the

                         Federal Work Study Program. As a participating institution in the Federal Work Study Program,

                         GW applied for funding from the U.S. Department of Education to employ students, such as the

                         Plaintiffs, at the University in part-time employment. In order to obtain a Federal Work Study

                         job at GW, the Plaintiffs were required to complete the standard employment forms, including

                         USCIS Form I-9 and IRS Form W-4. GW paid the Plaintiffs their wages via direct deposit for

                         the work they performed for GW. GW withheld state and federal taxes from the paychecks it

                         issued to Plaintiffs.

                                 22.     At all times relevant, the IIEP workplace consisted of an open-floor plan with

                         numerous workstations. The staff sat in close proximity to one another in open workstations.

                                 23.     Plaintiffs were excellent employees that excelled in their positions at the IIEP.

                         The Hostile Work Environment for Jane Doe 2

                                 24.     Jane Doe 2 is currently a Sophomore at GW. Jane Doe 2 began working for GW

                         at the IIEP in January 2017. She was hired as the Digital Communication and Social Media

                         Assistant.

                                 25.     Jones began his predation of Jane Doe 2 within months of her working at IIEP.

                         She was only a Freshman at GW at the time.

                                 26.     In May 2017, Jones asked Jane Doe 2 to come over to his apartment. Jane Doe 2

                         agreed but explicitly told Jones numerous times that she did not want to do anything sexual with
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      Suite 350          him. Once there, Jones ignored Jane Doe 2’s objections and sexually assaulted her. Jane Doe 2
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                         tried to push Jones off of her, but he was much larger and stronger than her. She told him to stop

                         multiple times, but Jones would not. Jones raped Jane Doe 2.

                                27.     Unable to deal with the trauma that she just endured, she returned home to Utah

                         for the summer and tried to recover from the assault.

                                28.     That entire summer, Jane Doe 2 was tormented by the rape and her return to GW.

                         She dreaded returning to work at IIEP in the fall, but she needed the money and the position

                         with IIEP was highly coveted by students looking to build their resumes. She feared reporting

                         the rape because she was worried that Jones would retaliate. And, what if people did not believe

                         her? She felt trapped and alone.

                                29.     When Jane Doe 2 returned to work at IIEP in the fall of 2017, she was distraught

                         to learn that Jones was still working at IIEP. She told herself that she could get through this if

                         she avoided Jones and was never left alone with him.

                                30.     She feared going to work every day since she was required to work in close

                         proximity to the man that had sexually assaulted her. Because of her fear of Jones, Jane Doe 2

                         asked her friend and supervisor, Jane Doe 3, to walk her to work on several occasions.

                                31.     Jones continued to torment Jane Doe 2 and the other women employees

                         throughout the fall of 2017. In one instance, Jones told Jane Doe 2, “I am never sticking my

                         dick into the pool of IIEP ever again.”

                                32.     Jones also began his sexual rating system of the women he raped. Jones publicly

                         announced to the IIEP staff members his sexual rating of the female coworkers from best to

                         worse. He described one of the women he raped as “a dead fish because she was so drunk.”
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                                33.     On another occasion, Jones told Jane Doe 2’s faculty supervisors and her

                         coworkers that “yeah, we fucked” (referring to him and Jane Doe 2); a coworker informed Jane

                         Doe 2 that Jones had been “degrading” Jane Doe 2.

                                34.     Jones would frequently brag in the workplace about his sexual exploitation of the

                         women in the workplace. He bragged about the number of partners (e.g. victims) he had. And

                         he would publicly torment and degrade his victims. These women were not only sexually

                         assaulted by this monster, they were mentally assaulted by his taunts, threats, and ridicule.

                                35.     On March 26, 2018, Jane Doe 2 was constructively discharged by GW.

                                36.     As a direct and proximate result of the sexual assault and harassing conduct in

                         the IIEP workplace, Jane Doe 2 has suffered from severe depression, anxiety, insomnia,

                         nightmares, and panic attacks. Jane Doe is in a constant state of fear while on GW’s campus,

                         and in the IIEP workplace that she will encounter Jones. Jane Doe 2’s panic attacks have been

                         so severe that she missed many of her classes. During her final exam period, Jane Doe 2 was

                         unable to study due to her inability to sleep and severe emotional distress. As a result of sexual

                         assault and hostile work environment, Jane Doe 2’s grades have suffered significantly.

                         The Hostile Work Environment for Jane Doe 4

                                37.     Jane Doe 4 is currently a sophomore at GW. She began working for GW at the

                         IIEP in October 2016. She was hired as a Team Member on the Events and Operations Team.

                                38.     As a Team Member on the Events and Operations Team, Jane Doe 4 was

                         responsible for planning IIEP events and ensuring that the events ran smoothly.

                                39.     Jane Doe 4, like the other Plaintiffs, was forced to work closely with Jones
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      Suite 350          thereby subjecting her to a sexually hostile workplace. Initially, Jones’ harassment consisted of
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                         demeaning tactics such as intentionally calling the female employees by the wrong names to

                         diminish and insult them. But it grew worse as time went on.

                                40.     On one occasion, Jane Doe 4 heard Jones say to numerous coworkers that he

                         “would never dip his dick in the IIEP pool again.”

                                41.     On another occasion, a female coworker finally stood up to Jones on behalf of

                         the women in the office to address his misogynistic conduct. Jones shouted down the female

                         coworker by stating, “you will have to get used to things like that if you ever want to be

                         successful in a work environment.” In fact, this was Jones’ constant refrain anytime a female

                         worker confronted his sexist behavior. The female coworker left the office crying.

                                42.     Jones referred to new female staff members as his “new office crush.” To Jones,

                         the younger female staff members were nothing but conquests, which he made clear in the

                         workplace. Unfortunately, Jane Doe 4 is one of the female workers in the IIEP that Jones

                         targeted.

                                43.     On September 30, 2017, Jane Doe 4 was out at a nightclub with her IIEP

                         coworkers. At that nightclub, Jones bought the underage IIEP staff, including Jane Doe 4, an

                         excessive number of alcoholic drinks. Eventually, Jones got Jane Doe 4 exceedingly intoxicated

                         at the club. After taking the IIEP workers back to GW’s campus drunk, Jones asked Jane Doe 4

                         to come his apartment. Jane Doe 4 did not want to go, but Jones was older than her and her boss

                         at IIEP, so she felt she had no choice. At Jones’ apartment, Jane Doe 4 slipped in and out of

                         consciousness, as she was still grossly intoxicated. While in that inebriated and unresponsive

                         state, Jones took off her clothes, climbed on top of her and raped Jane Doe 4. Jane Doe 4 said
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      Suite 350          “no” and tried to fight him off, but she did not have the strength. She continued to fight him and
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                         was able to stop the assault before falling asleep. The next morning she awoke to Jones, again,

                         attempting to rape her. She pushed Jones off of her and fled.

                                   44.   For Jane Doe 4, Jones’ assault did not end on that terrible, tragic night. After

                         raping Jane Doe 4, Jones bragged in the workplace about his encounter to Jane Doe 4’s

                         coworkers. He made humiliating, derogatory sexual comments about Jane Doe 4 to her

                         coworkers and the faculty members working in the IIEP. And adding insult to injury, Jones

                         publicly ranked Jane Doe 4 among the other females in the office that he had victimized.

                                   45.   As a direct and proximate result of the sexual assault and harassing conduct in

                         the IIEP workplace, Jane Doe 4 has suffered from severe depression, anxiety, and panic attacks.

                         Jane Doe 4 tries to avoid interactions with men at GW and in the IIEP workplace. Jane Doe 4

                         has suffered utter humiliation in the IIEP workplace as Jones publicly announced to Jane Doe

                         4’s coworkers, supervisors, and professors about his encounter with Jane Doe 4. This has

                         diminished Jane Doe 4’s self-esteem and her faculty advisers’ view of her in the IIEP

                         workplace.

                         The Hostile Work Environment for Jane Doe 1

                                   46.   Jane Doe 1 is currently a Junior at GW. She began working for GW at the IIEP

                         in September 2017. She was hired as the Events and Operations Assistant.

                                   47.   As the Events and Operations Assistant, Jane Doe 1 was responsible for

                         organizing travel arrangements for event attendees, staffing events, preparing rooms and

                         meeting spaces, creating event menus and ordering catering, and booking event spaces for IIEP

                         events.
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                                 48.    Shortly after beginning her employment at IIEP, Jane Doe 1’s supervisor,

                         Emerson Jones, began making inappropriate sexual advances towards her. It started on October

                         1, 2017, when Jones texted Jane Doe 1 at 2:18 a.m. “oh my god you’re so hot.”

                                 49.    On October 6, 2017, Jones invited Jane Doe 1 over to his house. She declined

                         and said that she would like to maintain a professional relationship. Nonetheless, Jones persisted

                         and said “maybe we could go out another time.”

                                 50.    On October 26, 2017, Jane Doe 1 learned that Jones had threatened to kill her

                         female coworker. This made her fearful of Jones, as he was persistent in his pursuit of her. She

                         worried that he would harm her if she turned him down or made him angry.

                                 51.    On November 9, 2017, Jane Doe 1 received a text message from a female

                         coworker asking if Jones had left the office. Jones had followed the coworker into an elevator,

                         trying to corner her. She ran from him, fearing that he would sexually assault her. She hid in a

                         stairwell, until Jones left the office. Jane Doe 1 feared that Jones would try the same thing on

                         her. Jones had created a work environment where the female employees had to run and hide, so

                         they would not be left alone with him, and text the other female employees to find out if it was

                         safe.

                                 52.    On December 7, 2017, Jane Doe 1 told Jones while in the office that she was

                         stressed about her upcoming performance. Jones asked if he could attend the performance. Jane

                         Doe 1 told him no.

                                 53.    On December 9, 2017, Jane Doe 1 received a text message from Jones containing

                         a picture of her during her performance. Apparently, Jones had attended the performance over
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      Suite 350          Jane Doe 1’s protestations that he not. Jane Doe 1 became fearful that Jones was going to begin
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   klaprothlaw.com       pursuing her again.




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                                54.     On December 10, 2017, Jones again asked Jane Doe 1 on a date; she said no.

                                55.     Feeling unsafe about Jones’ persistent pursuit, Jane Doe 1 confided in a

                         coworker about Jones’ aggressive behavior. Jane Doe 1 learned from the coworker that Jones

                         has raped one of their coworkers. Jane Doe 1 had been fearful of Jones and his behavior, but

                         now she knew that he was capable of sexual assault.

                                56.     On December 18, 2017, Jane Doe 1 wrote to her supervisor, Kyle Renner, “I

                         need to sit down with you about an urgent issue regarding our workplace dynamic….”

                                57.     Renner was the supervisor for all Plaintiffs. He was the person authorized to

                         receive complaint regarding workplace misconduct and institute corrective measures. In the

                         office, he was the sole representative and agent of GW. He was the person that GW tasked with

                         authority to oversee and manage Jones and the other employees.

                                58.     On December 19, 2017, Jane Doe 1 filed a complaint with Renner. During this

                         meeting, Jane Doe 1 told Renner that she felt unsafe working with Jones. She described Jones’

                         behavior toward her, and also stated that one of her female coworkers had been raped. Renner

                         responded, “sometimes you need to work with people that you don’t necessarily get along

                         with.” Renner largely ignored the complaint, leaving Jones in the workplace and Jane Doe 1

                         feeling vulnerable and helpless.

                                59.     Any properly trained manager (or any moral human being for that matter) would

                         have heard Jane Doe 1’s complaint and did everything in his or her power to protect the women

                         working under and around Jones. Renner did nothing. Renner was part of the problem and his

                         behavior is indicative of the systematic failures of GW to recognize and respond to complaints
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      Suite 350          of sexual harassment in the workplace.
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                                60.     More egregious, Renner actually tried to cover up Jones’ misconduct. Jones and

                         Renner were close friends that were known to go drinking together after work. Rather than

                         report Jones to the police or to the University, Renner brushed aside the complaints made by

                         Plaintiffs and others.

                                61.     Renner also had no incentive to turn Jones in because Renner was also involved

                         in his own workplace misconduct. On multiple occasions, Renner would touch the small of Jane

                         Doe 1’s back while in the workplace, without her permission. The touch was sexual and

                         inappropriate in the workplace. Renner would have never touched a male employee in such

                         way.

                                62.      It was also generally known throughout the workplace that Renner had a sexual

                         relationship with one of the female employees. Renner also made repeated derogatory

                         comments about women in the workplace, such as disparaging “women’s studies.” All of this

                         led Jane Doe 1 to conclude that Renner would not take her complaints seriously, as he made

                         repeated misogynistic comments, was rumored to have had an inappropriate sexual relationship

                         in the office, acted blasé towards Jane Doe 1’s complaint to him, and was friends and drinking

                         buddies with Jones. Indeed, she feared that Renner may retaliate against her for complaining

                         about this buddy. Jane Doe 1 felt scared, intimidated, and alone.

                                63.     On December 21, 2017, Jane Doe 1 received an email from a Title IX

                         investigator. But the Title IX investigator took no action beyond that email and failed to conduct

                         any independent investigation beyond reaching out to the complainant. This was a direct

                         violation of GW’s obligation to perform independent investigations of sexual assault and
    Klaproth Law
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      Suite 350          misconduct regarding students. GW’s excuse that the victims did not drive its investigation is
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   klaprothlaw.com       nonsense. GW takes federal money and in exchange is required to abide by the dictates of Title




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                         IX; it cannot wash its hands of this obligation and let a complaint die on the vine without any

                         investigation.

                                64.       On January 30, 2018, Jones openly discussed his sexual exploits in the

                         workplace. Jane Doe 1 was present and heard Jones demean the women he “slept with.” Jane

                         Doe 1 felt like Jones’ announcement was designed intimidate and to show his control over the

                         women he worked with – that he could do or say anything with no repercussions.

                                65.       Upon information and belief, Jones knew of Jane Doe 1’s complaint to Renner

                         (and Jones must have been contacted by a Title IX investigator at this point), thus the message

                         from Jones was clear – the women could complain all they wanted, but Jones behavior would

                         not change. Jane Doe 1 felt trapped and depressed.

                                66.       Following initial complaint to Renner, Jones deliberately and intentionally

                         increased his hostility towards her, which altered the terms and conditions of her employment.

                         For instance, on February 1, 2018, Jane Doe 1 observed Jones in Renner’s office discussing

                         something with Renner. Just before the meeting, Jones had been treating Jane Doe 1 with

                         hostility and harassed her as she quietly did her work. Jones also disparaged Jane Doe 1 to her

                         supervisor. As a result, Jane Doe 1’s supervisor told her that she was not allowed to work the

                         event that evening even though the event was understaffed. This was all in retaliation for Jane

                         Doe 1’s complaint to Renner.

                                67.       On February 7, 2018, Jane Doe 1 requested that she be demoted to Event staff so

                         that she would not have to interact with Jones anymore.

                                68.       Jane Doe 1 was also given the option of working from home – which was GW’s
    Klaproth Law
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      Suite 350          solution to a sexually hostile work environment – penalize Jane Doe 1 and remove her from the
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   klaprothlaw.com       workplace, not Jones.




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                                69.      On April 2, 2018, Jane Doe 1 was constructively discharged. She was forced to

                         resign out of her fear of interacting with Jones in the IIEP office.

                                70.      As a direct and proximate result of the hostile work environment and harassing

                         conduct in the IIEP workplace, Jane Doe 1 has suffered from an exacerbation of her post-

                         traumatic stress disorder, anxiety, social isolation, disrupted sleep, panic attacks, an inability to

                         concentrate and study, diminished self-esteem, symptoms of depression, and difficulty

                         completing her course work. In addition, Jane Doe 1’s emotional distress and psychosomatic

                         responses to stress have impeded her ability to pursue her course work in her major, which

                         requires her to perform in front of audiences. The emotional distress caused by the hostile work

                         environment and harassment has resulted in Jane Doe 1 dropping out of her graduate school

                         prep course and forced her to reschedule a graduate school exam. Jane Doe 1 is fearful while on

                         GW’s campus and in the IIEP workplace that she will encounter Jones and/or that Jones will

                         physically assault her. Due to her emotional distress, Jane Doe 1 has missed classes due to

                         anxiety and skipped classes for fear she may encounter Jones. Jane Doe 1’s emotional distress

                         has adversely impacted her eating and exercise habits, which has resulted in significant weight

                         fluctuations.

                         The Hostile Work Environment for Jane Doe 3

                                71.      Jane Doe 3 is currently a Sophomore at GW. She began working for GW at the

                         IIEP in September 2016. She is employed as the Digital Communications and Social Media

                         Team Lead.

                                72.      As the Digital Communications and Social Media Team Lead, Jane Doe 3 is
    Klaproth Law
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      Suite 350          responsible for managing and supervising the Digital Communications Social Media Team.
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   klaprothlaw.com       Jane Doe 3 interacts with Renner as part of her job on a daily basis.




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                                 73.     As part of her job, Jane Doe 3 has had to endure sexually hostile conduct from

                         Renner. When walking next to Jane Doe 3, Renner would touch Jane Doe 3’s arm or shoulder.

                         While working at her computer, Renner has frequently reached over Ms. Jane Doe 3 to type on

                         her keyboard while she remains seated. Renner also routinely commented on Ms. Jane Doe 3’s

                         clothing in the office. Renner has never exhibited this behavior to the male employees.

                                 74.     It is also common knowledge in the office that Renner had slept with a female

                         student who had worked in the IIEP. Renner also asked another female student employee out for

                         a coffee after she left the IIEP.

                                 75.     In addition, Renner gave preferential treatment to Jane Doe 3’s co-team leader,

                         which has made it extremely difficult for her to perform her job in the IIEP workplace. Renner

                         would dismiss Jane Doe 3’s recommendations in front of the staff, and instead request input

                         from the male co-team leader. This diminished Jane Doe 3’s reputation, role, and

                         responsibilities in the IIEP workplace. Although Jane Doe 3 had equal responsibilities and

                         authority as her male co-team leader, Renner would treat Jane Doe 3 as the subordinate to her

                         male co-team leader. Jane Doe 3’s male co-team leader even told Jane Doe 3 that Renner was a

                         misogynist and that Renner treated Jane Doe 3 unfairly in the workplace.

                                 76.     On February 17, 2017, during Jane Doe 3’s professional development meeting,

                         Renner asked Jane Doe 3 when she intended to get married and have kids. Jane Doe 3 later

                         learned that he asked several female employees this question during their professional

                         development meetings.

                                 77.     In her position of Digital Communications and Social Media Team Lead, Jane
    Klaproth Law
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      Suite 350          Doe 3 learned that Jones assaulted three girls in the office. Numerous female workers in the
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   klaprothlaw.com       IIEP requested that Jane Doe 3 and/or Renner schedule different shifts for them to avoid




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                         interacting with Jones in the IIEP office. Female staff members complained to Jane Doe 3 about

                         Jones’ sexual misconduct and inappropriate conduct in the office. In one such complaint, a

                         female employee complained that Jones had been asking underage female workers to “get

                         drunk” with him after work. Moreover, Jane Doe 3 received two written complaints in a

                         suggestion box about Jones’ sexually hostile behavior.

                                  78.   Jane Doe 3 also received complaints that Jones had been discussing his sexual

                         encounter with Jane Doe 2 loudly in the IIEP office. One staff member stated that Jones’ had

                         bragged to the staff members that Jane Doe 2 had “cheated on her boyfriend” with him.

                                  79.   Jones’ sexual harassment and assault of the female staff members in the IIEP

                         office has impacted Ms. Jane Doe 3’s ability to perform her job. She has filed as least four

                         formal complaints with her supervisors about Jones’ sexual harassment and assaults. Renner and

                         GW have largely ignored those complaints or taken no discernible action to remove Jones from

                         the workplace, begin a timely Title IX investigation, and/or report Jones to the police. As a

                         result, Ms. Jane Doe 3 has not been able to function as the team lead. Ms. Jane Doe 3 works

                         within feet of her female coworkers that were raped by Jones and there is nothing she can do to

                         protect them because GW has ignored her complaints. GW has not, and will not, terminate

                         Jones.

                                  80.   Jane Doe 3 knew that her coworkers are fearful to come to work and to interact

                         with Jones. She attempted to rearrange the female staff members work schedules, so they did

                         not have to interact with Jones, but there are only so many work shifts that she can shuffle. How

                         can Jane Doe 3 ask her female coworker, whom she knows has suffered severe and significant
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  406 5TH Street NW
      Suite 350          trauma, come into work the next day where she will see their rapist?
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                                81.     Jane Doe 3 has begun to fear for her safety since she has been an advocate for the

                         other female workers. This has resulted in Jane Doe 3 avoiding the office as much as possible

                         and cutting back significantly on her hours.

                                82.     As a direct and proximate result of the hostile work environment and harassing

                         conduct in the IIEP workplace, Jane Doe 3 has suffered from anxiety, social isolation,

                         diminished self-esteem, panic attacks, an inability to concentrate and study, and difficulty

                         completing her course work. Due to Jones’ and Renner’s harassing conduct, Jane Doe 3 has felt

                         absolutely powerless in the IIEP workplace. Due to the hostile work environment, Jane Doe 3

                         would avoid the IIEP workplace as much as possible. This adversely impacted her work

                         performance as she was unable to interact with her team directly or her faculty supervisors. The

                         hostile work environment also prevented Jane Doe 3 from performing her job as Digital

                         Communications and Social Media Team Lead. Jane Doe 3 received numerous complaints in

                         her role as a supervisor as to Jones’ sexual assaults and harassing conduct. When Jane Doe 3

                         conveyed these complaints to her supervisor, Renner, no action was taken and her subordinates

                         continued to be subjected to sexual harassment and hostility. Consequently, her subordinates

                         had no choice but to stop coming to work at IIEP in order to avoid Jones. Moreover, because

                         Jane Doe 3 had to protect her co-workers from Jones, she was forced to take their shifts at

                         events and spend more time with Jones; a man she found anxiety-inducing.

                         The Hostile Work Environment for Jane Doe 5

                                83.     Jane Doe 5 is currently a sophomore at GW. She began working for GW at the

                         IIEP in January 2017. She was hired as a Team Member on the Events and Operations Team.
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  406 5TH Street NW
      Suite 350                 84.     As a Team Member on the Events and Operations Team, Jane Doe 5 was
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   klaprothlaw.com       responsible for planning IIEP events and ensuring that the events ran smoothly.




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                                 85.     Jones began working at the IIEP shortly after Jane Doe 5 started her employment

                         at the IIEP. The IIEP workplace immediately transformed into a hostile environment. The

                         female workers, including Jane Doe 5, felt extremely uncomfortable around Jones due to his

                         aggressive behavior and misogynistic comments.

                                 86.     In one instance, Jane Doe 5 observed Jones shout down a female coworker after

                         the female coworker requested that Jones stop verbally harassing her in the workplace. Jones

                         became extremely aggressive, belittled her, and told the female coworker that she needed to

                         stop being “emotional” get “used to this type of behavior in a work environment.”

                                 87.     Jane Doe 5 has heard Jones talk to other coworkers in the workplace about

                         women in a sexually demeaning way and has heard Jones brag about his sexual experiences.

                                 88.     To the female employees, such as Jane Doe 5, Jones would intentionally call

                         them the incorrect names claiming that all the women in the office are the same.

                                 89.     Jones’ predatory pursuit of Jane Doe 5 began almost immediately after Jones

                         started at the IIEP.

                                 90.     In April 2017, Jane Doe 5 attended a party in a GW dorm room that was hosted

                         by her IIEP coworker. At the party, Jane Doe 5 consumed an excessive amount of tequila shots

                         that left her grossly intoxicated. She had announced to the people at the party how drunk she

                         was, but she felt comfortable since she was with her friends. But there lurking in the

                         background of the freshman party, was the 24-year-old Jones. While at the party, Jones

                         repeatedly asked Jane Doe 5 to leave with him to his house. Jane Doe 5 repeatedly said no. As

                         the party ended, Jones called an Uber and pressured Jane Doe 5 to leave with him. During the
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      Suite 350          Uber ride, Jones began his assault in the car. Once at Jones’ house, Jane Doe 5 “blacked out”
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   klaprothlaw.com       and lost consciousness. She then came in and out of consciousness as Jones aggressively raped




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                         her. Jane Doe 5 told Jones to stop and that it hurt, but she was too intoxicated to physically stop

                         the assault.

                                  91.    IIEP staff members have complained about Jones to Renner since March 2017,

                         but Renner ignored those complaints and silenced the female complainants.

                                  92.    As a direct and proximate result of the hostile work environment and harassing

                         conduct in the IIEP workplace, Jane Doe 5 has suffered from severe depression, anxiety, social

                         isolation, disrupted sleep, panic attacks, an inability to concentrate and study, diminished self-

                         esteem, difficulty completing her course work, sexual insecurity, and financial insecurity since

                         she was unable to work in the IIEP office. Jane Doe 5’s professional development has been

                         impacted because she did not feel safe going to the IIEP workplace. As a result, her peers and

                         supervisors have viewed her as an unreliable worker. In addition, since Jane Doe 5 complained

                         to Renner about Jones’ assault and harassing conduct, Renner has viewed Jane Doe 5 in a

                         sexualized manner which impacted her ability to perform her job. As a result of the sexual

                         assault and harassing conduct, Jane Doe 5’s performance in school has suffered. She has fallen

                         behind in her coursework and missed classes. Furthermore, Jane Doe 5’s has negatively

                         impacted her performance in her internship and extra-curricular activities at GW.

                         GW’s Indifference to the Complaints of Rape and Harassment

                                  93.    GW acknowledges that:

                                         Sexual harassment is destructive of such a climate and will not be
                                         tolerated in the University community. Sexual harassment creates
                                         unacceptable stress for the entire workforce, adversely affects
                                         morale, demeans the harassed individual, and could expose the
                                         University and the harasser to significant liability.1
    Klaproth Law
  406 5TH Street NW
      Suite 350
Washington, D.C. 20001   1
                                  https://facultyaffairs.gwu.edu/important-personnel-policies-0 (last accessed on April 9,
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   klaprothlaw.com       2018).




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                         As such, GW claims, “[t]he George Washington University does not unlawfully discriminate

                         against any person on any basis prohibited by federal law, the District of Columbia Human Rights

                         Act…all allegations of discrimination, harassment, or complaints of unequal treatment are taken

                         seriously.” Such a proclaimed policy is aspirational in form,2 but devoid of any substance. In this

                         case, not only has GW demonstrated a deliberate indifference to Plaintiffs’ complaints of

                         harassment, it has provided safe harbor for the assailant.

                                94.     GW has had actual and constructive knowledge of the sexually hostile work

                         environment since September 2017 when the harassment began. Jones made the sexually

                         explicit comments in a small, shared, common workspace in front of supervisor and faculty

                         members. The lack of inaction by GW demonstrates that atmosphere of systemic tolerance of

                         sexual hostility by managers and supervisors existed in the IIEP.

                                95.     Moreover, as early as December 19, 2017, Jane Doe 1 filed a complaint with her

                         supervisor, Renner. During this meeting, Jane Doe 1 told Renner that she felt unsafe working

                         with Jones and that Jones had raped one of her coworkers. Renner responded, “sometimes you

                         need to work with people that you don’t necessarily get along with.” GW took no action in

                         response to Jane Doe 1’s complaint.

                                96.     GW did nothing.

                                97.     On February 2, 2018, Jane Doe 3 and Jane Doe 2 met with Renner. During this

                         meeting, Jane Doe 2 told Renner, her supervisor, that Jones had raped her. Jane Doe 2 further



                         2
                                  Remarkably, GW’s Student Employee Manual for Students that Work at GW contains a
    Klaproth Law         dead hyperlink to the section on sexual harassment. See Student Employee Manual for Students
  406 5TH Street NW
      Suite 350          that Work at GW at 15 (available at
Washington, D.C. 20001   https://careerservices.gwu.edu/sites/g/files/zaxdzs2271/f/SE%20Student%20Manual_Revised%
        −−−−−
   klaprothlaw.com       20%20August%20%202017.pdf ) (the “Sexual Harassment” section hyperlinks to this inactive
                         site https://www.gwu.edu/hr/handbook/3.html#3.3 ).



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                         told Renner that Jones raped two other girls in the IIEP office. During this meeting, Jane Doe 2

                         also gave Renner a written statement that detailed Jones’ sexually hostile conduct and

                         misogynistic comments in the workplace. Renner stated that he would talk to the Title IX office

                         to see what he should do. Renner also recommended that Jane Doe 2 work from home.

                                98.     GW still did nothing.

                                99.     On February 9, 2018, Jane Doe 1 met with the Assistant Director for Sexual

                         Assault Prevention and Response Office for Diversity, Equity, and Community Engagement

                         (“ODECE”). Jane Doe 1 complained about Jones’ sexual harassment and sexual assault of Jane

                         Doe 5. ODECE stated that it would inquire to the General Counsel's Office whether the

                         complaint would be treated as “student-on-student harassment” or “staff-on-staff harassment.”

                                100.    On February 11, 2018, Jane Doe 2 observed Jones in the office so she emailed

                         Renner, “I was wondering if we could have a follow-up meeting. Let me know if you are free

                         soon?” Renner never responded.

                                101.    On February 23, 2018, Jane Doe 2 had her “professional development meeting”

                         with Renner. While she waited for her meeting, she was forced to sit next to Jones in the

                         cubicles. The meeting lasted approximately 45 minutes to one hour, which consisted mostly of

                         work-related matters. At the end of the meeting, Renner told Jane Doe 2 that to “follow-up” on

                         her complaint about Jones, there was nothing Renner could do because his “hands were tied.”

                         Jane Doe 2 asked Renner to fire Jones. Renner repeatedly stated that his “hands were tied.”

                         Renner stated that Jane Doe 2 had to file an “official complaint with the Title IX office.” Jane

                         Doe 2 complained that this was unacceptable, because Jones was still had access to the girls in
    Klaproth Law
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      Suite 350          the office and that he could hurt them next. Jane Doe 2 complained that it was unacceptable that
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   klaprothlaw.com       not only she had to work beside the man that raped her, but that GW would even allow a known




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                         rapist into the office. Renner concluded the meeting by stating that Jane Doe 2 should work

                         from home and go to therapy. At this time, Jane Doe 2 had also complained to the Title IX

                         about Jones’ harassment and assault.

                                 102.    GW still did nothing.

                                 103.    On February 28, 2018, Jane Doe 3 met with Renner. She told Renner during this

                         meeting that she believed Jane 2 would be quitting IIEP because Kyle would not take action in

                         response to her complaint. Renner again claimed that his “hands were tied” and it was “a

                         difficult situation.”

                                 104.    GW took no action.

                                 105.    On March 6, 2018, Jane Doe 1 learned that her previous complaint to ODECE

                         would be treated as a “student-on-student harassment” rather than “staff-on-staff harassment”

                         even though the harassment was occurring in the IIEP workplace.

                                 106.    On March 7, 2018, Jane Doe 2 wrote to Renner that four female employees “and

                         I want to discuss how we feel unsafe in the office. As far as I am aware, other females in the

                         office are also going to be sending me statements that they want to be read as they couldn’t

                         make it to the meeting.”

                                 107.    On March 9, 2018, Plaintiffs met with Renner. During this meeting, each of the

                         Plaintiffs detailed the sexual harassment they were exposed to in the workplace, Jones’ sexual

                         assaults on female staff members, Jones’ demeaning treatment of the female staff members, and

                         Jones’ threat to kill a female staff member. The Plaintiffs also read written statements prepared

                         by two other girls. The Plaintiffs told Renner that at least 11 female staff members had been
    Klaproth Law
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      Suite 350          impacted by Jones’ hostile conduct. The Plaintiffs told Renner that they felt unsafe working
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   klaprothlaw.com       with Jones. The Plaintiffs demanded an answer as to why GW had done nothing in response to




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                         their complaints. Renner stated that he needed to utilize the “correct mechanisms” to terminate

                         Jones. The Plaintiffs pressed Renner what those “mechanisms” were. He had no answer. Renner

                         further stated that he did not want to ask Jones to work from home. He instead asked the

                         Plaintiffs to work from home.

                                108.    Still, GW did nothing.

                                109.    On March 26, 2018, Jane Doe 2 resigned from IIEP. She wrote to Renner:

                                        [W]orking in the recent months at IIEP has been a terrible
                                        experience for me. So it saddens me to notify you of my immediate
                                        resignation from the communications teams.

                                        The institute's either inability or unwillingness to protect myself
                                        and my peers from a clear and imminent threat has been
                                        disheartening to say the least. To know that Emerson is still not
                                        formally fired and that 11 girls complaining is not enough for IIEP
                                        and GWU to ensure his dismissal is, frankly, grossly astounding.

                                        I hope the situation is eventually resolved, but after putting forth so
                                        many months of fighting for my safety and seeing little to nothing
                                        happening, I am no longer willing to work under the Institute.

                                110.    On March 27, 2018, Jane Doe 2 received a telephone call from the Director of

                         IIEP, Maggie Chen. Director Chen said she was outraged by what happened and wanted Jones

                         to be fired ASAP. Director Chen said she asked Renner what he did to fire Jones, and Renner

                         said “nothing.” Director Chen said she went to HR to have Jones fired and the HR department

                         replied, “this is not a HR issue, it is a Title IX issue.” Director Chen then complained to GW’s

                         Title IX Office which stated “we would need formal complaints from each of the victims,” and

                         that it could not take any action until after the judiciary council completed its investigation.
    Klaproth Law
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      Suite 350          Director Chen stated that she then complained to GW’s Office of the General Counsel, which
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   klaprothlaw.com       reiterated that the complaints would need to be processed by the Title IX Office. When Director




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                         Chen proclaimed that she had “cause to terminate him,” the General Counsel’s Office said

                         “that’s not fair to Jones.” Director Chen stated, “I was told that until [Jones] has his due process,

                         there is nothing I can do….I am so frustrated by this system…it is not good.” During this call,

                         Director Chen further stated that there is “absolutely no training” on sexual harassment.

                         Director Chen ended the call by stating that “I was told all 11 girls must come file formal

                         complaints, otherwise GW won’t do anything. I am prohibited from terminating….[but] I won’t

                         renew his contract at the end of the year.”

                                111.    GW’s response—nothing.

                                112.    On March 30, 2018, Jane Doe 3 encountered Renner on GW’s campus. Renner

                         pressed to know why Jane Doe 2 would not return Renner’s calls. Jane Doe 3 replied that Jane

                         Doe 2 “is not comfortable speaking with you.” Renner then stated that he was “very concerned

                         that [the Plaintiffs’] group chat with the eleven [victims] was spreading misinformation and that

                         [the Plaintiffs] were making the situation worse.” In doing so, Renner attempted to discourage

                         Jane Doe 3 and the Plaintiffs from pursuing their complaints of harassment.

                                113.    On April 2, 2018, Jane Doe 2 met with Jen Alexander-Smith of the Office of

                         Student Rights & Responsibilities at GW (“Student Rights Office”). The Students Rights Office

                         stated that it had learned of Plaintiffs’ complaints on March 31, 2018, although their Complaints

                         had been made months earlier. The Student Rights Office stated it is prohibited from becoming

                         involved in work place problems. The Student Rights Office stated, “we have no policies in

                         place regarding student problems in the workplace….there is absolutely no policy for

                         harassment of students in the workplace.” Jane Doe 2 proclaimed that “this is an unsafe work
    Klaproth Law
  406 5TH Street NW
      Suite 350          environment, and something needs to be done.” The Student Rights Office said, “this is a gray
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   klaprothlaw.com       area, we have no policy in place for this…we cannot write policy for every possible complaint




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                         that we could come across.” The Student Rights Office further admitted that it never received

                         any complaint from Title IX or Renner about Jones’ misconduct. The Student Rights Office

                         further stated that according to Title IX, it had not yet started an investigation because it had not

                         received a “formal” complaint.

                                114.    To date, Jones is still employed by GW in the IIEP workplace.

                                                              COUNT I
                                             HOSTILE WORK ENVIRONMENT IN VIOLATION
                                                  OF THE D.C. HUMAN RIGHTS ACT
                                                          (All Defendants)

                                115.    Plaintiff realleges and incorporates by reference the allegations contained in the

                         preceding paragraphs of this Complaint as if fully set forth herein.

                                116.    During Plaintiffs’ employment, a severe and pervasive hostile environment

                         existed in violation of the D.C. Human Rights Act. Renner and Jones made sexually charged

                         comments and touched Plaintiffs’ inappropriately thereby creating a sexually hostile

                         environment. Further, Jones’ sexual assault of Jane Doe 4, Jane Doe 5 and Jane Doe 2 created a

                         sexually hostile work environment. Renner’s and Jones’ sexual hostility towards Plaintiffs was

                         pervasive and regular. Plaintiffs dealt with their sexually charged comments and hostile

                         behavior on a daily basis. Indeed, Jones’ sexual animus towards the female employees in the

                         IIEP was a pattern and practice of discriminatory conduct that pervaded the workplace at GW

                         and subjected all employees to a hostile environment.

                                117.    Defendants GW and Renner fostered, accepted, ratified, and/or otherwise failed

                         to prevent or to remedy a hostile work environment that included, among other things, severe
    Klaproth Law         and pervasive harassment of Plaintiffs because of their gender. Respondeat superior liability
  406 5TH Street NW
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Washington, D.C. 20001   further exists because Renner and Jones were Plaintiffs’ supervisors or managers, and therefore
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                         an agent of GW.

                                118.    As a direct and proximate result of Defendants’ violation of the D.C. Human

                         Rights Act, Plaintiffs have suffered economic and non-economic damages set forth herein and

                         has incurred attorneys’ fees and costs. Plaintiffs are now suffering and will continue to suffer

                         irreparable injury and monetary damages as a result of Defendants’ discriminatory and

                         retaliatory acts unless, and until, the Court grants the relief requested herein.

                                119.    Defendants’ violations of the D.C. Human Rights Act were willful and warrant

                         the imposition of punitive damages.

                                120.    Plaintiffs seek affirmative relief which may include, but is not limited to,

                         requiring Defendants to post the avenues to address complaints of workplace harassment,

                         discrimination, and retaliation; requiring Defendant’s employees to undergo discrimination,

                         sexual harassment and retaliation training; terminating Emerson Jones; and any other equitable

                         relief as the Court deems appropriate, compensatory damages, attorneys’ fees, costs and

                         disbursements of this action.

                                121.    WHEREFORE, Plaintiffs pray for relief in the form of a judgment against

                         Defendants, jointly and severally, by awarding (1) compensatory damages; (2) punitive

                         damages; (3) equitable relief, including back pay and front pay; (4) costs and attorney’s fees; (5)

                         punitive damages; and (6) any other relief the Court deems proper.

                                                          COUNT II
                                   RETALIATION IN VIOLATION OF THE D.C. HUMAN RIGHTS ACT
                                                       (All Defendants)

                                122.    Plaintiffs reallege and incorporate by reference the allegations contained in the
    Klaproth Law
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      Suite 350          preceding paragraphs of this Amended Complaint as if fully set forth herein.
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   klaprothlaw.com              123.    Defendants retaliated against Plaintiffs by forcing them to work from home,




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                         disciplining them, reducing their hours, and terminating them from their employment with GW.

                                124.    The harassing, reckless, wrongful, willful and malicious treatment of the

                         Plaintiffs, by the Defendants solely because Plaintiffs made complaints of sexual harassment

                         and objected to discriminatory conduct and/or participated in a claim of discrimination, or

                         witnessed to discrimination; constitutes denial of equal opportunity, terms, conditions, and

                         perquisites of employment and is retaliation with the meaning of the D.C. Human Rights Act.

                                125.    Plaintiffs engaged in statutorily protected activity when they exercised their

                         rights under the D.C. Human Rights Act by complaining of Jones’ sexual harassment to their

                         supervisor, Renner.

                                126.    GW took no remedial measures in response to Plaintiffs’ complaints. Instead the

                         hostile environment continued and grew worse as more unsuspecting women were preyed upon

                         by Jones.

                                127.    Instead of taking remedial measures against the sexual harassment by Jones,

                         Defendants instead retaliated against the Plaintiffs. Jones, the sexual deviant and sociopath, is

                         still employed by GW. While on the other hand, Jane Doe 2 and Jane Doe 1 are not.

                                128.    As a result of Defendants’ harassing, reckless, unlawful, wanton and malicious

                         retaliatory conduct, Plaintiffs have suffered economic and non-economic damages set forth

                         herein and has incurred attorneys’ fees and costs. Plaintiffs are now suffering and will continue

                         to suffer irreparable injury and monetary damages as a result of Defendants discriminatory and

                         retaliatory acts unless and until the Court grants the relief requested herein.

                                129.    Defendants’ retaliation in violation of the D.C. Human Rights Act was willful
    Klaproth Law
  406 5TH Street NW
      Suite 350          and warrant the imposition of punitive damages.
Washington, D.C. 20001
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   klaprothlaw.com              130.    Plaintiffs seek affirmative relief which may include, but is not limited to,




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                         requiring Defendants to post the avenues to address complaints of workplace harassment,

                         discrimination, and retaliation; requiring Defendant’s employees to undergo discrimination,

                         sexual harassment and retaliation training; terminating Emerson Jones; and any other equitable

                         relief as the Court deems appropriate, compensatory damages, attorneys’ fees, costs and

                         disbursements of this action.

                                131.    WHEREFORE, Plaintiffs pray for relief in the form of a judgment against

                         Defendants, jointly and severally, by awarding (1) compensatory damages; (2) punitive

                         damages; (3) equitable relief, including back pay and front pay; (4) costs and attorney’s fees; (5)

                         punitive damages; and (6) any other relief the Court deems proper.

                                                             COUNT III
                                                GENDER DISCRIMINATION IN VIOLATION
                                                   OF THE D.C. HUMAN RIGHTS ACT
                                                           (All Defendants)

                                132.    Plaintiffs reallege and incorporate by reference the allegations contained in the

                         preceding paragraphs of this Amended Complaint as if fully set forth herein.

                                133.    Defendants discriminated against Plaintiffs on the basis of their gender in

                         violation of the DCHRA by, inter alia, subjecting them to a hostile work environment because

                         of their gender; subjecting them to different terms and conditions of their employment –

                         specifically advising them to work from home – because of their gender; subjecting them to

                         sexually suggestive remarks, and sexually suggestive touching because of their gender;

                         subjecting them to a workplace environment where they were forced to silently endure sexual

                         advances and sexual advancement to maintain their positions; subjecting them to a workplace
    Klaproth Law         environment where regular and pervasive comments were made demeaning women in general;
  406 5TH Street NW
      Suite 350
Washington, D.C. 20001   subjecting them to a workplace environment with regular and persistent unwelcome sexual
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                         advances, requests for sexual favors, verbal and physical harassment because of their gender;

                         failing to take Plaintiffs’ complaints of sexual harassment and hostile work environment

                         seriously because of their gender; creating a workplace where women are subordinate to men

                         and subject to physical touching, demeaning, and insulting comments because of their gender;

                         providing due process rights to men (specifically to Jones) greater than those afforded to

                         Plaintiffs because of their gender; and implementing and executing Title IX investigations and

                         procedures differently for female students because of their gender.

                                134.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct

                         in violation of the DCHRA, Plaintiffs have suffered economic and non-economic damages set

                         forth herein and has incurred attorneys’ fees and costs. Plaintiffs are now suffering and will

                         continue to suffer irreparable injury and monetary damages as a result of Defendants’

                         discriminatory acts unless, and until, the Court grants the relief requested herein.

                                135.    Defendants’ violations of the D.C. Human Rights Act were willful and warrant

                         the imposition of punitive damages.

                                136.    Plaintiffs seek affirmative relief which may include, but is not limited to,

                         requiring Defendants to post the avenues to address complaints of workplace harassment,

                         discrimination, and retaliation; requiring Defendant’s employees to undergo discrimination,

                         sexual harassment and retaliation training; terminating Emerson Jones; and any other equitable

                         relief as the Court deems appropriate, compensatory damages, attorneys’ fees, costs and

                         disbursements of this action.

                                WHEREFORE, Plaintiffs pray for relief in the form of a judgment against Defendants,
    Klaproth Law
  406 5TH Street NW
      Suite 350          jointly and severally, by awarding (1) compensatory damages; (2) punitive damages; (3)
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   klaprothlaw.com       equitable relief, including back pay and front pay; (4) costs and attorney’s fees; (5) punitive




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                         damages; and (6) any other relief the Court deems proper.

                                                               COUNT IV
                                                   AIDING AND ABETTING A VIOLATION
                                                     OF THE D.C. HUMAN RIGHTS ACT
                                                             (All Defendants)

                                137.    Plaintiffs reallege and incorporate by reference the allegations contained in the

                         preceding paragraphs of this Amended Complaint as if fully set forth herein.

                                138.    The DCHRA makes it “an unlawful discriminatory practice for any person to aid,

                         abet, invite, compel, or coerce the doing of any of the acts forbidden under” the DCHRA. D.C.

                         Code §2-1402.62

                                139.    Renner and GW knew or should have known about Jones and Renner’s

                         discriminatory and retaliatory conduct in violation of the DCHRA and failed to stop it.

                                140.    Renner and GW unlawfully aided and abetted the discriminatory and retaliatory

                         conduct by Renner and Jones.

                                141.    As a direct and proximate result of Defendants’ aiding and abetting the unlawful

                         discriminatory conduct in violation of the DCHRA, Plaintiffs have suffered economic and non-

                         economic damages set forth herein and has incurred attorneys’ fees and costs. Plaintiffs are now

                         suffering and will continue to suffer irreparable injury and monetary damages as a result of

                         Defendants’ discriminatory acts unless, and until, the Court grants the relief requested herein.

                                142.    Defendants’ violations of the D.C. Human Rights Act were willful and warrant

                         the imposition of punitive damages.

                                143.    Plaintiffs seek affirmative relief which may include, but is not limited to,
    Klaproth Law         requiring Defendants to post the avenues to address complaints of workplace harassment,
  406 5TH Street NW
      Suite 350
Washington, D.C. 20001   discrimination, and retaliation; requiring Defendant’s employees to undergo discrimination,
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                         sexual harassment and retaliation training; terminating Emerson Jones; and any other equitable

                         relief as the Court deems appropriate, compensatory damages, attorneys’ fees, costs and

                         disbursements of this action.

                                WHEREFORE, Plaintiffs pray for relief in the form of a judgment against Defendants,

                         jointly and severally, by awarding (1) compensatory damages; (2) punitive damages; (3)

                         equitable relief, including back pay and front pay; (4) costs and attorney’s fees; (5) punitive

                         damages; and (6) any other relief the Court deems proper.

                                                          COUNT V
                                       NEGLIGENT TRAINING, SUPERVISION, AND RETENTION
                                                          (GW only)

                                144.    Plaintiffs reallege and incorporate by reference the allegations contained in the

                         preceding paragraphs of this Amended Complaint as if fully set forth herein.

                                145.    GW had a duty to train its employees and to supervise its employees. GW

                         breached its duty to exercise reasonable care by acting negligently and recklessly in the

                         following specific respects and without limitation:

                                 a.     Failing to provide formal training on sexual harassment in the workplace;

                                 b.     Failing to supervise Renner and Jones in the IIEP office;

                                 c.     Failing to adopt policies to receive and process complaints of sexual harassment
                                        in the IIEP office;

                                 d.     Failing to adopt policies to prevent sexual harassment in the IIEP office;

                                 e.     Failing to discipline employees for sexual harassment;

                                 f.     Failing to discipline Renner and Jones in connection with the sexual harassment
                                        in the IIEP office; and,
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  406 5TH Street NW              g.     Failing to investigate complaints of sexual harassment in the IIEP office.
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        −−−−−
                                146.    It was foreseeable to the GW that the failure to train its employees, including
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                         Renner and Jones, would result in the sexual harassment in the IIEP office and cause harm to its

                         employees, such as the Plaintiffs. As a direct and proximate result of the GW’s failure to

                         exercise reasonable care, Plaintiffs have suffered and will continue to suffer much physical pain

                         and mental anguish; have incurred medical expenses and will continue to incur medical

                         expenses; and have suffered and will continue to suffer mental and physical pain, and emotional

                         distress.

                                 147.   WHEREFORE, Plaintiffs pray for relief in the form of a judgment awarding

                         compensatory damages, punitive damages, and any other relief the Court deems proper

                                                                 COUNT VI
                                                        VIOLATION OF TITLE IX
                                                          (20 U.S.C. § 1681, et seq.)
                                             (GW’s Deliberate Indifference to Sexual Harassment)

                                 148.   Plaintiffs reallege and incorporate by reference the allegations contained in the

                         preceding paragraphs of this Amended Complaint as if fully set forth herein.

                                 149.   The sex-based harassment endured by Plaintiffs was so severe, pervasive, and

                         objectively offensive that it deprived Plaintiffs of access to educational opportunities or benefits

                         provided by GW.

                                 150.   GW created and/or subjected Plaintiffs to a hostile educational environment in

                         violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a) (“Title IX”),

                         because

                                        a. Plaintiffs are members of a protected class;

                                        b. Plaintiffs were subjected to sexual harassment in the form of a sexual assault
                                           and/or harassment by another student;
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      Suite 350
                                        c. Plaintiffs were subjected to harassment based on their sex; and
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        −−−−−                           d. Plaintiffs were subjected to a hostile educational environment created by
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                                           GW’s lack of policies and procedures and failure to properly investigate



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                                             and/or address the sexual assault and subsequent harassment.

                                 151.    GW and its officials had actual knowledge of sexual assaults and harassment

                         committed by Jones, and the resulting harassment of Plaintiffs created by GW’s failure to

                         investigate and discipline Jones in a timely manner and consistent with its own policy and

                         federal and state law.

                                 152.    GW’s failure to promptly and appropriately respond to the alleged sexual

                         harassment, resulted in Plaintiffs, on the basis of their sex, being excluded from participation in,

                         being denied the benefits of, and being subjected to discrimination in GW’s education program

                         in violation of Title IX.

                                 153.    GW failed to take immediate, effective remedial steps to resolve the complaints

                         of sexual harassment and instead acted with deliberate indifference toward Plaintiffs.

                                 154.    GW persisted in its actions and inaction even after it had actual knowledge of the

                         harm suffered by Plaintiffs.

                                 155.    GW engaged in a pattern and practice of behavior designed to discourage and

                         dissuade students and parents of students who had been sexually assaulted from seeking

                         prosecution and protection and from seeking to have sexual assaults from being fully

                         investigated.

                                 156.    This policy and/or practice constituted disparate treatment of females had a

                         disparate impact on female students, such as Plaintiffs.

                                 157.    Plaintiffs have suffered emotional distress and psychological damage, and their

                         character and standing in her community have suffered from the harassment fostered as a direct
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  406 5TH Street NW
      Suite 350          and proximate result of GW’s deliberate indifference to their rights under Title IX.
Washington, D.C. 20001
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   klaprothlaw.com               158.    WHEREFORE, Plaintiffs pray for relief in the form of a judgment against




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                         Defendants, jointly and severally, by awarding (1) compensatory damages; (2) punitive

                         damages; (3) equitable relief, including back pay and front pay; (4) costs and attorney’s fees; (5)

                         punitive damages; and (6) any other relief the Court deems proper.

                                                               COUNT VII
                                                       VIOLATION OF TITLE IX
                                                         (20 U.S.C. § 1681, et seq.)
                                    (GW’s Retaliation by Withholding Protections Conferred by Title IX)

                                159.    Plaintiffs reallege and incorporate by reference the allegations contained in the

                         preceding paragraphs of this Amended Complaint as if fully set forth herein.

                                160.    Immediately after Plaintiffs notified Defendants of the sexual assaults committed

                         by Jones, Defendants retaliated against Plaintiffs by denying them their rights under Title IX,

                         including without limitation, the following rights:

                                        a. Respectful treatment throughout the process, regardless of outcome;

                                        b. University counseling services;

                                        c. Be informed about the student judicial process on an ongoing basis;

                                        d. Access case file within legal parameters;

                                        e. A no contact order with the other party throughout the process;

                                        f. To have an advisor of your choosing present with you during any and all
                                           phases of the investigation and hearing;

                                        g. A thorough, prompt, and equitable investigation and resolution of a
                                           complaint;

                                        h. Opportunity to submit a written statement addressing the allegations and to
                                           provide evidence and witnesses;

    Klaproth Law                        i. Be informed of the university’s code of conduct for students, faculty, and
  406 5TH Street NW                        staff, including anticipated timelines and possible outcomes of a complaint;
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        −−−−−                           j. Request protective measures, remedies, support, and resources;
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                                        k. Protection against retaliation from any university staff or student;

                                        l. A free forensic exam from a Sexual Assault Nurse Examiner;

                                        m. The option to notify law enforcement, independent of campus process;

                                        n. Receive assistance modifying academic or housing situation; and,

                                        o. Not to have to interact face-to-face with the respondent at any time during the
                                           process.

                                161.    WHEREFORE, Plaintiffs pray for relief in the form of a judgment against

                         Defendants, jointly and severally, by awarding (1) compensatory damages; (2) punitive

                         damages; (3) equitable relief, including back pay and front pay; (4) costs and attorney’s fees; (5)

                         punitive damages; and (6) any other relief the Court deems proper.

                                                             PRAYER FOR RELIEF

                                WHEREFORE, each Plaintiff individually prays for relief in the form of a judgment

                         against all Defendants, jointly and severally, for compensatory damages in the amount

                         $5,000,000; punitive damages in the amount of $25,000,000; equitable relief; pre- and post-

                         judgment interest; costs; attorney’s fees; and any other relief the Court deems proper and just.

                                                         JURY AND TRIAL DEMAND

                                Plaintiffs hereby demand a trial by jury with respect to each claim in this Amended

                         Complaint.

                                                                                Respectfully submitted,

                                                                                 /s/ Brendan J. Klaproth
                                                                                Brendan J. Klaproth (D.C. Bar No. 999360)
                                                                                Jesse C. Klaproth (D.C. Bar No. PA0063)
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